           Case 1:16-vv-00778-UNJ Document 31 Filed 12/08/17 Page 1 of 4




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-778V
                                      Filed: April 18, 2017
                                         UNPUBLISHED

****************************
ROMEO RAABE,                              *
                                          *
                     Petitioner,          *      Damages Decision Based on Proffer;
v.                                        *      Influenza;
                                          *      Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                       *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                       *
                                          *
                     Respondent.          *
                                          *
****************************
Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On June 30, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that he suffered a shoulder injury following his October 6, 2015
influenza vaccination. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

        On January 13, 2017, a ruling on entitlement was issued, finding petitioner
entitled to compensation for a shoulder injury related to vaccine administration
(“SIRVA”). On April 14, 2017, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $80,000.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Based


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-00778-UNJ Document 31 Filed 12/08/17 Page 2 of 4



on the record as a whole, the undersigned finds that petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $80,000.00 in the form of a check payable to
petitioner, Romeo Raabe. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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          Case 1:16-vv-00778-UNJ Document 31 Filed 12/08/17 Page 3 of 4



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

*************************************
ROMEO RAABE,                        *
                                    *
                  Petitioner,       *                        No. 16-778V
                                    *                        CHIEF SPECIAL MASTER
v.                                  *                        NORA BETH DORSEY
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       The Court issued a Ruling on Entitlement on January 13, 2017. Based upon the evidence

of record, respondent proffers that petitioner should be awarded $80,000.00, which represents all

elements of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a).1

Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment of $80,000.00, in the form of a check payable to petitioner. Petitioner agrees.

                                                     Respectfully submitted,

                                                     CHAD A. READLER
                                                     Acting Assistant Attorney General




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       Should petitioner die prior to the entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
         Case 1:16-vv-00778-UNJ Document 31 Filed 12/08/17 Page 4 of 4



                                           C. SALVATORE D’ALESSIO
                                           Acting Director
                                           Torts Branch, Civil Division

                                           CATHARINE E. REEVES
                                           Deputy Director
                                           Torts Branch, Civil Division

                                           MICHAEL P. MILMOE
                                           Senior Trial Counsel
                                           Torts Branch, Civil Division

                                           /s/ DEBRA A. FILTEAU BEGLEY
                                           DEBRA A. FILTEAU BEGLEY
                                           Trial Attorney
                                           Torts Branch, Civil Division
                                           U.S. Department of Justice
                                           P.O. Box 146
                                           Benjamin Franklin Station
                                           Washington, D.C. 20044-0146
                                           Phone: (202) 616-4181
Dated: April 14, 2017




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